Case 1:21-cv-00391-LEK-WRP Document 10 Filed 10/19/21 Page 1 of 2       PageID #: 91




                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 MIYOKO MIZUNO,                )             CV 21-00391 LEK-WRP
                               )
           Plaintiff,          )
                               )
       vs.                     )
                               )
 WYNDHAM DESTINATIONS,         )
 INC.,                         )
                               )
           Defendant.          )
 _____________________________ )

                  ORDER ADOPTING MAGISTRATE JUDGE’S
                    FINDINGS AND RECOMMENDATION

       Findings and Recommendation having been filed on September 28, 2021

 and served on all parties on September 29, 2021, and no objections having been

 filed by any party,

       IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

 United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the "Request for

 Reassignment; Findings and Recommendation That the District Court Grant

 Plaintiff’s Application to Proceed Without Prepaying Fees; Dismiss the Complaint

 Without Prejudice; and Deny Plaintiff’s Request for Appointment of Counsel”,

 ECF No. 8, are adopted as the opinion and order of this Court.

       IT IS SO ORDERED.
Case 1:21-cv-00391-LEK-WRP Document 10 Filed 10/19/21 Page 2 of 2       PageID #: 92




       DATED AT HONOLULU, HAWAII, October 19, 2021.



                                                  /s/ Leslie E. Kobayashi
                                                  Leslie E. Kobayashi
                                                  United States District Judge




 MIYOKO MIZUNO VS. WYNDHAM DESTINATIONS, INC.; CV 21-00391
 LEK-WRP; ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS
 AND RECOMMENDATION




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